     Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 1 of 27 PageID# 607




                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division

HARLEYSVILLE WORCESTER                                  )
INSURANCE COMPANY                                       )
355 Maple Avenue                                        )
Harleysville, Pennsylvania 19438-2222                   )
                                                        )
            Plaintiff,                                  )
                                                        )
v.                                                      )       Case No. 3:22-cv-00594
                                                        )
TANYA INVESTMENTS, LLC                                  )
11612 Olde Covington Way                                )
Glen Allen, Virginia 23059                              )
      Serve:                                            )
      Iqbal K. Virani, Registered Agent                 )
      11612 Olde Covington Way                          )
      Glen Allen, Virginia 23059                        )
                                                        )
            Defendant.                                  )
                                                        )

                         COMPLAINT FOR DECLARATORY JUDGMENT

            Plaintiff Harleysville Worcester Insurance Company (“Harleysville” or “Plaintiff”), by

counsel, pursuant to 28 U.S.C. § 2201, Rule 57 of the Federal Rules of Civil Procedure, and the

Local Rules of the United States District Court for the Eastern District of Virginia, states as follows

for its Complaint for Declaratory Judgment against the defendant, Tanya Investments, LLC

(“Tanya” or “Defendant”).

                                               PARTIES

            1.      Plaintiff Harleysville is an insurance company formed and existing under the laws

of the Commonwealth of Pennsylvania, with its principal place of business located in Harleysville,

Pennsylvania. Harleysville is, therefore, a citizen of the Commonwealth of Pennsylvania and is

not a citizen of the Commonwealth of Virginia. Harleysville submits itself to the jurisdiction of



{01749637.DOCX }
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 2 of 27 PageID# 608




this Court.

            2.     Defendant Tanya is a limited liability company organized and existing under the

laws of the Commonwealth of Virginia, with its principal place of business located in Glen Allen,

Virginia. One member of Defendant Tanya is Iqbal K. Virani, who resides in Glen Allen, Virginia.

Upon information and belief, all members of Defendant Tanya are residents and citizens of the

Commonwealth of Virginia           Tanya, therefore, is a citizen of the Commonwealth of Virginia.

Alternatively, upon information and belief, no member of Tanya Investments, LLC is a citizen of

the Commonwealth of Pennsylvania.

                                   JURISDICTION AND VENUE

            3.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332

because there is diversity of citizenship between the parties and the matter in controversy exceeds

the sum of $75,000, exclusive of interest and costs.

            4.     The venue of this action is properly predicated on 28 U.S.C. § 1391, 28 U.S.C. §127,

and Rule 3 of the Local Rules of the United States District Court for the Eastern District of Virginia,

in that jurisdiction is founded on diversity of citizenship and this action is brought in the judicial

district and division in which a substantial part of the events or omissions giving rise to the claim

occurred, in which the Defendant resides or does business, and/or in which the Defendant is subject

to personal jurisdiction, including the delivery of the relevant Insurance Contract by Harleysville

to Tanya at its policy address and principal office, 11612 Olde Covington Way, Glen Allen,

Virginia, 23059, and the location of Tanya’s member and registered agent, Iqbal K Virani, 11612

Olde Covington Way, Glen Allen, Virginia, 23059.

            5.     Additionally, Luvi Stations, Inc. (“Luvi”) and Saul Vidal Pardo (“Pardo”) have

filed an ongoing Action against Tanya in the Circuit Court for the County of Henrico, Virginia,

{01749637.DOCX }                                    2
    Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 3 of 27 PageID# 609




Case No. CL22cv2391 (the “Underlying Action”). This Declaratory Judgment Action relates

directly to the Underlying Action, in that Tanya has requested that Harleysville provide a defense

and, if applicable, indemnification to Tanya arising out of the Underlying Action. Harleysville is

defending Tanya in the Underlying Action under a full and complete reservation of rights.

                                              BACKGROUND

            1.     Harleysville issued a contract of commercial insurance to Tanya Properties, Inc.,

bearing policy number SPP0000008540BJ, effective from October 1, 2020, through October 1,

2021, including in relevant part, a Commercial General Liability Coverage Part (the “Insurance

Contract”).

            2.     The Insurance Contract was renewed for the policy period from October 1, 2021,

through October 1, 2022.

            3.     The Insurance Contract includes a Named Insured Schedule (Form GU-7008 (Ed.

4-16), which includes a number of additional Named Insureds, including the Defendant, Tanya

Investments, LLC, the Defendant in this Declaratory Judgment Action.

            4.     A true, accurate, and complete copy of the Insurance Contract for the 2020-2021

policy period is attached as Exhibit 1 and is incorporated by reference as if fully restated herein.

            5.     A true, accurate, and complete copy of the Insurance Contract for the 2021-2022

policy period is attached as Exhibit 2 and is incorporated by reference as if fully restated herein.

            6.     Luvi and Pardo filed a Complaint in the Underlying Action (the “Underlying

Complaint”) on or about April 14, 2022. 1


1
  The Civil Cover Sheet and letter attached to the Underlying Complaint that Luvi and Pardo sent to the Henrico
County Circuit Court was dated March 31, 2022. However, the Henrico County Circuit Court records reflect that
the Complaint was filed on April 14, 2022. Accordingly, this Complaint for Declaratory Judgment alleges the date
of filing from the Circuit Court’s official records.

{01749637.DOCX }                                        3
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 4 of 27 PageID# 610




            7.     A true, accurate, and complete copy of the Underlying Complaint is attached as

Exhibit 3 and is incorporated by reference as if fully restated herein.

            8.     Luvi and Pardo served the Underlying Complaint upon Tanya on or about April 21,

2022.

            9.     Tanya, by and through its corporate counsel, filed responsive pleadings to the

Underlying Complaint, which were filed on or about April 25, 2022.

            10.    After filing its responsive pleadings, and by notice dated April 25, 2022, Tanya

provided notice to Harleysville of the Underlying Action and requested that Harleysville provide

a defense to Tanya in the Underlying Action.

            11.    Tanya did not provide notice to Harleysville of the facts giving rise to the

Underlying Complaint prior to its notice of the Underlying Action on April 25, 2022.

            12.    The Underlying Complaint alleges that Luvi and Pardo are seeking damages in the

amount of $400,000.00 in compensatory damages and $350,000.00 in punitive damages allegedly

as a result of fraud, constructive fraud and conversion on the part of Defendant Tanya.

            13.    The Underlying Complaint alleges that Tanya acted, in part, by and through Pollard

& Bagby, Inc. (“Pollard & Bagby”), as Tanya’s “public agent with respect to the Property.”

Underlying Complaint, ⁋4.

            14.    Pollard & Bagby, though alleged to have acted on Tanya’s behalf as its agent, is

not named as a defendant in the Underlying Action.

            15.    The Underlying Complaint (see Exhibit 3) describes the facts upon which the

Underlying Action is based, and states in part as follows:

                   5.     On or about March 15, 2021, Levi entered into a Lease
                          Agreement with Tanya.


{01749637.DOCX }                                   4
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 5 of 27 PageID# 611




                   6.    Pardo entered into the Lease Agreement as Luvi’s
                         guarantor.

                   7.    Prior to execution of the Lease Agreement, Tanya, by and
                         through its owner, Iqbal K. Virani (“Virani”) and its agent,
                         Pollard & Bagby, made material misrepresentations
                         regarding the condition of the Property and, more
                         specifically, its fuel dispensing system.

                   8.    Specifically, Virani and Pollard & Bagby represented to
                         Plaintiff’s [sic] that the fuel system had no leaks and was up-
                         to-date and ready for use should Luvi lease the Property.

                   9.    Per the Lease Agreement, Luvi was to take possession of the
                         Property on April 1, 2021.

                   10.   Unknown to Luvi, but known to Tanya, the fuel dispensing
                         system was required to be upgraded to provide for credit
                         card chip readers at the pumps no later than April 1, 2021.

                   11.   Unknown to Luvi, but known to Tanya, at least one fuel tank
                         had a leak, causing the fuel delivery system to pump so
                         slowly as to be non-functional.

                   12.   Despite its legal requirement to report such fuel tank leaks
                         to the Virginia Department of Environmental Quality, Tanya
                         failed to do so.

                   13.   The representations made by Tanya and Pollard & Bagby to
                         plaintiffs about the fuel delivery system were material to
                         plaintiffs’ decision to enter into the Lease Agreement.

                   14.   The representations made by Tanya and Pollard & Bagby to
                         plaintiffs about the fuel delivery system were false when
                         made.

                   15.   Tanya and Pollard & Bagby knew the representations made
                         by Tanya and Pollard & Bagby to plaintiffs about the fuel
                         delivery system were false when they made them.

                   16.   Alternatively, Tanya and Pollard & Bagby thought that he
                         [sic] representations made by Tanya and Pollard & Bagby
                         to plaintiffs about the fuel delivery system were true when,
                         in fact, they were false when made.


{01749637.DOCX }                                   5
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 6 of 27 PageID# 612




                   17.    Plaintiffs reasonably relied on the representations made by
                          Tanya and Pollard & Bagby.

                   18.    But for the representations made by Tanya and Pollard &
                          Bagby to plaintiffs about the fuel delivery system, plaintiff’s
                          [sic] would not have entered into the Lease Agreement.

See Exhibit 3.

            16.    Harleysville issued a Coverage Position and Reservation of Rights Letter to Tanya

dated May 3, 2022, which advised Tanya that the Insurance Contract might not provide any

insurance benefits to Tanya in connection with the Underlying Action or the facts giving rise to

the Underlying Action.

            17.    Additionally, in its May 3, 2022 letter, Harleysville notified Tanya that

Harleysville would provide a defense to Tanya in the Underlying Action under its continuing

reservation of rights under the Insurance Contract and applicable law.

            18.    Harleysville has been providing, and continues to provide, a defense to Tanya in

the Underlying Action.

                                  THE INSURANCE CONTRACT

            19.    The Insurance Contract provides, in relevant part, commercial general liability

insurance pursuant to the terms, conditions, limitations, exclusions, definitions, and other

provisions of the Insurance Contract.

            20.    The Insurance Contract provides limits of liability of $1,000,000.00 for each

“occurrence.” Exhibit 1, Commercial General Liability Coverage Part Declarations, Form CG-

7274 (Ed. 4-16), p. 1 of 1, issued 09/22/2020; Exhibit 2, Commercial General Liability Coverage

Part Declarations, Form CG-7274 (Ed. 4-16), p. 1 of 1, issued 07/09/2021.

            21.    The Insurance Contract provides limits of liability of $1,000,000.00 for “Personal


{01749637.DOCX }                                    6
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 7 of 27 PageID# 613




and Advertising Injury” (any one person or organization). Id.

            22.    The Insurance Contract defines the term “occurrence” to mean “an accident,

including continuous or repeated exposure to substantially the same general harmful conditions.”

Exhibit 1 and Exhibit 2, Commercial General Liability Coverage Form, Form CG 00 01 12 07,

p. 14 of 16.

            23.    The Insurance Contract states as follows, in relevant part, with respect to the

insuring agreement between Harleysville and Tanya as to “Coverage A Bodily Injury and

Property Damage Liability:”

                   1.     Insuring Agreement

                          a.     We will pay those sums that the insured becomes
                                 legally obligated to pay as damages because of
                                 “bodily injury” or “property damage” to which this
                                 insurance applies. We will have the right and duty
                                 to defend the insured against any “suit” seeking
                                 those damages. However, we will have no duty to
                                 defend the insured against any “suit” seeking
                                 damages for “bodily injury” or “property damage”
                                 to which this insurance does not apply. We may at
                                 our discretion, investigate any “occurrence” and
                                 settle any claim or “suit” that may result. But:

                                 (1)    The amount we will pay for damages is
                                        limited as described in Section III – Limits Of
                                        Insurance: and

                                 (2)    Our right and duty to defend ends when we
                                        have used up the applicable limit of
                                        insurance in the payment of judgments or
                                        settlements under Coverages A or B or
                                        medical expenses under Coverage C.

                                 No other obligation or liability to pay sums or
                                 perform acts or services is covered unless explicitly
                                 provided for under Supplementary Payments –
                                 Coverages A and B.


{01749637.DOCX }                                   7
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 8 of 27 PageID# 614




                   b.   This insurance applies to “bodily injury” and
                        “property damage” only if:

                        (1)    The “bodily injury” or “property damage” is
                               caused by an “occurrence” that takes place
                               in the “coverage territory”;

                        (2)    The “bodily injury” or “property damage”
                               occurs during the policy period;

                        (3)    Prior to the policy period, no insured listed
                               under Paragraph 1. of Section II - Who Is An
                               Insured and no "employee" authorized by you
                               to give or receive notice of an "occurrence"
                               or claim, knew that the "bodily injury" or
                               "property damage" had occurred, in whole or
                               in part. If such a listed insured or authorized
                               "employee" knew, prior to the policy period,
                               that the "bodily injury" or "property damage"
                               occurred, then any continuation, change or
                               resumption of such "bodily injury" or
                               "property damage" during or after the policy
                               period will be deemed to have been known
                               prior to the policy period.

                   c.   "Bodily injury" or "property damage" which occurs
                        during the policy period and was not, prior to the
                        policy period, known to have occurred by any
                        insured listed under Paragraph 1. of Section II. Who
                        Is An Insured or any "employee" authorized by you
                        to give or receive notice of an "occurrence" or claim,
                        includes any continuation, change or resumption of
                        that "bodily injury" or "property damage" after the
                        end of the policy period.

                   d.   "Bodily injury" or "property damage" will be deemed
                        to have been known to have occurred at the earliest
                        time when any insured listed under Paragraph 1. of
                        Section II - Who Is An Insured or any "employee"
                        authorized by you to give or receive notice of an
                        "occurrence" or claim:

                        (1)    Reports all, or any part, of the "bodily injury"
                               or "property damage" to us or any other
                               insurer;

{01749637.DOCX }                          8
   Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 9 of 27 PageID# 615




                                 (2)    Receives a written or verbal demand or claim
                                        for damages because of the "bodily injury" or
                                        "property damage"; or

                                 (3)    Becomes aware by any other means that
                                        "bodily injury" or "property damage" has
                                        occurred or has begun to occur.

                          e.     Damages because of "bodily injury" include
                                 damages claimed by any person or organization for
                                 care, loss of services or death resulting at any time
                                 from the "bodily injury".

Exhibit 1 and Exhibit 2, Commercial General Liability Coverage Form, Form CG 00 01 12 07,

pp 1-2 of 16.

            24.    The Insurance Contract also sets forth certain exclusions from Coverage A, as

follows:

                   2.     Exclusions
                          This insurance does not apply to:
                          a.     Expected or Intended Injury
                                 … “property damage” expected or intended from the
                                 standpoint of the insured…
                          b.     Contractual Liability
                                 “Bodily injury” or “property damage” for which the
                                 insured is obligated to pay damages by reason of the
                                 assumption of liability in a contract or agreement.
                                 This exclusion does not apply to liability for
                                 damages:
                                 (1)    That the insured would have in the absence
                                        of the contract or agreement; or
                                 (2)    Assumed in a contract or agreement that is
                                        an “insured contract”, provided the “bodily
                                        injury” or “property damage” occurs
                                        subsequent to the execution of the contract or
                                        agreement. Solely for the purposes of
                                        liability assumed in an “insured contract”,
                                        reasonable attorney fees and necessary
{01749637.DOCX }                                   9
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 10 of 27 PageID# 616




                                        litigation expenses incurred by or for a party
                                        other than an insured are deemed to be
                                        damages because of “bodily injury” or
                                        “property damage”, provided:
                                        (a)     Liability to such party for, or for the
                                                cost of, that party’s defense has also
                                                been assumed in the same “insured
                                                contract”; and
                                        (b)     Such attorney fees and litigation
                                                expenses are for defense of that party
                                                against a civil or alternative dispute
                                                resolution proceeding in which
                                                damages to which this insurance
                                                applies are alleged.
                   …
                   j.     Damage to Property
                          “Property damage” to:
                          (1)    Property you own… including any costs or expenses
                                 incurred by you, or any other person, organization
                                 or entity, for repair, replacement, enhancement,
                                 restoration or maintenance of such property for any
                                 reason, including prevention or injury to a person or
                                 damage to another’s property; “your product”
                                 arising out of it or any part of it.
                   …
Exhibit 1 and Exhibit 2, Form CG 00 01 12 07, pp 2-4 of 16.

            25.    The Commercial General Liability Coverage Form defines certain additional

terms that appear in Coverage A as follows:

                   9.     “Insured Contract” means:
                          …

                          f.     That part of any other contract or agreement
                                 pertaining to your business (including an
                                 indemnification of a municipality in connection with
                                 work performed for a municipality) under which you
                                 assume the … “property damage” liability of
                                 another party to pay for … “property damage” to a
                                 third person or organization. Tort liability means a

{01749637.DOCX }                                  10
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 11 of 27 PageID# 617




                                 liability that would be imposed by law in the absence
                                 of any contract or agreement.
                          …

                   13.    “Occurrence” means an accident, including continuous or
                          repeated exposure to substantially the same general harmful
                          conditions.
                   …

                   17.    "Property damage" means:

                          (a)    Physical injury to tangible property, including all
                                 resulting loss of use of that property. All such loss of
                                 use shall be deemed to occur at the time of the
                                 physical injury that caused it; or

                          (b)    Loss of use of tangible property that is not physically
                                 injured. All such loss of use shall be deemed to occur
                                 at the time of the "occurrence" that caused it.
                                 “Property damage” means “physical injury to
                                 tangible property, including all resulting loss of use
                                 of that property. All such loss of use shall be deemed
                                 to occur at the time of the physical injury that caused
                                 it…”
                   …

Exhibit 1 and Exhibit 2, Form CG 00 01 12 07, pp. 13-15 of 16.

            26.    The Insurance Contract states as follows, in relevant part, with respect to the

insuring agreement between Harleysville and Tanya as to “Coverage B Personal and Advertising

Injury Liability:”

                   1.     Insuring Agreement

                          a.     We will pay those sums that the insured becomes
                                 legally obligated to pay as damages because of
                                 "personal and advertising injury" to which this
                                 insurance applies. We will have the right and duty to
                                 defend the insured against any "suit" seeking those
                                 damages. However, we will have no duty to defend
                                 the insured against any "suit" seeking damages for
                                 "personal and advertising injury" to which this

{01749637.DOCX }                                   11
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 12 of 27 PageID# 618




                                 insurance does not apply. We may, at our sole
                                 discretion, investigate any offense and settle any
                                 claim or "suit" that may result. But:

                                 (1)    The amount we will pay for damages is
                                        limited as described in Section III - Limits of
                                        Insurance; and

                                 (2)    Our right and duty to defend end when we
                                        have used up the applicable limit of
                                        insurance in the payment of judgments or
                                        settlements under Coverages A or B or
                                        medical expenses under Coverage C.

                                 No other obligation or liability to pay sums or
                                 perform acts or services is covered unless explicitly
                                 provided for under Supplementary Payments --
                                 Coverages A and B.

                          b.     This insurance applies to "personal and advertising
                                 injury" caused by an offense arising out of your
                                 business but only if the offense was committed in the
                                 "coverage territory" during the policy period.

Exhibit 1 and Exhibit 2, Form CG 00 01 12 07, pp. 13-15 of 16.

            27.    The Commercial General Liability Coverage Form defines the term “Personal and

advertising injury” as that term appears in Coverage B as follows:

                   14.    "Personal and advertising injury" means injury, including
                          consequential "bodily injury", arising out of one or more of
                          the following offenses:

                          …
                          c.     The wrongful eviction from, wrongful entry into, or
                                 invasion of the right of private occupancy of a room,
                                 dwelling or premises that a person occupies,
                                 committed by or on behalf of its owner, landlord or
                                 lessor;
                          …

Exhibit 1 and Exhibit 2, Form No. CG 00 01 12 07, p. 14 of 16.



{01749637.DOCX }                                  12
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 13 of 27 PageID# 619




            28.    The Insurance Contract also sets forth certain exclusions from Coverage B, as

follows:

                   2.     Exclusions

                          This insurance does not apply to:

                          a.     Knowing Violation Of Rights Of Another

                                 "Personal and advertising injury" caused by or at the
                                 direction of the insured with the knowledge that the
                                 act would violate the rights of another and would
                                 inflict "personal and advertising injury".
                          …

                          d.     Criminal Acts

                                 "Personal and advertising injury" arising out of a
                                 criminal act committed by or at the direction of the
                                 insured.

                          e.     Contractual Liability

                                 "Personal and advertising injury" for which the
                                 insured has assumed liability in a contract or
                                 agreement. This exclusion does not apply to liability
                                 for damages that the insured would have in the
                                 absence of the contract or agreement.

                          f.     Breach of Contract

                                 "Personal and advertising injury" arising out of a
                                 breach of contract, except an implied contract to use
                                 another's advertising idea in your "advertisement".

Exhibit 1 and Exhibit 2, Form Number GC 00 01 12 07, pp. 6-7 of 16.

            29.    The Insurance Contract includes certain conditions with which Tanya must comply:

                   2.     Duties In The Event Of Occurrence, Offense, Claim Or
                          Suit
                          a.     You must see to it that we are notified as soon as
                                 practicable of an “occurrence” or an offense which
                                 may result in a claim. To the extent possible, notice
{01749637.DOCX }                                   13
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 14 of 27 PageID# 620




                                  should include:

                                  (1)     How, when and where the “occurrence” or
                                          an offense took place;

                                  (2)     The names and addresses of any injured
                                          persons and witnesses; and

                                  (3)     The nature and location of any injury or
                                          damage arising out of the “occurrence” or
                                          offense.
                          …

                          d.      No insured will, except at that insured’s own cost,
                                  voluntarily make a payment, assume any obligation,
                                  or incur any expense, other than for first aid, without
                                  our consent.

Exhibit 1 and Exhibit 2, Form CG 00 01 12 07, pp. 10-11 of 16.

            30.    By enumerating certain provisions of the Insurance Contract, Harleysville does not

waive any terms, conditions, limitations, exclusions, definitions or any other provisions of the

Insurance Contract. Harleysville reserves the right to assert any other specific provisions of the

Insurance Contract to the extent they become relevant to any allegations in this Complaint for

Declaratory Judgment.

            31.    Harleysville files the instant Complaint for Declaratory Judgment asking this

Court to declare that Harleysville has no duty under the Insurance Contract to defend and/or

indemnify Tanya in connection with the Claim and/or the Underlying Action.

            32.    Alternatively, Harleysville seeks a determination that to the extent it has any duty

to defend or indemnify Tanya—which Harleysville denies—Harleysville’s obligations are strictly

limited to only those damages for which insurance benefits are provided by the Insurance

Contract.

            33.    An actual, immediate controversy exists between Harleysville and Tanya to

{01749637.DOCX }                                    14
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 15 of 27 PageID# 621




determine Harleysville’s obligations under the Insurance Contract to defend and/or indemnify

Tanya for any liability Tanya might owe to Luvi and Pardo arising out of the Underlying Action.

                      FIRST REQUEST FOR DECLARATORY JUDGMENT

  Harleysville Has No Duty Under the Insurance Contract To Defend Or Indemnify Tanya
  For Liability Arising Out Of the Claim and/or Underlying Action Because The Damages
   Alleged In The Underlying Action Do Not Meet the Insurance Contract Definitions of
                     “Property Damage” Caused By An “Occurrence”.

            34.    Harleysville restates the preceding and following allegations of this Complaint for

Declaratory Judgment as if fully set forth herein.

            35.    The Insurance Contract requires Harleysville to indemnify Tanya for damages that

Tanya is legally obligated to pay because of “‘property damage’ [] caused by an

‘occurrence’….Exhibit 1, Form CG 00 01 12 07, p. 1 of 16.

            36.    The Insurance Contract defines “property damage,” in relevant part, as “physical

injury to tangible property, including all resulting loss of use of that property. All such loss of use

shall be deemed to occur at the time of the physical injury that caused it…” Exhibit 1, Form CG

00 01 12 04, p. 14-15 of 16.

            37.    The Insurance Contract defines the term “occurrence” to mean an “accident,

including continuous or repeated exposure to substantially the same general harmful conditions.”

Exhibit 1, Form CG 00 01 12 04, p. 14 of 16.

            38.    The Claim, as reflected in the Underlying Action, alleges that Tanya is liable to

Luvi and Pardo arising out of an undisclosed defect in Tanya’s Property – namely the leak in the

fuel delivery system that pre-existed the alleged Lease between Tanya and Luvi/Pardo.

            39.    Damages incurred to replace an insured’s defective product do not satisfy the

definition of an “occurrence” as that term is used and defined in the Insurance Contract. Travelers


{01749637.DOCX }                                   15
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 16 of 27 PageID# 622




Indem. Co. of Am. v. Miller Bldg. Corp., 142 Fed. Appx. 147, 148-49 (4th Cir. 2005); Hotel

Roanoke Conf. Ctr. Comm’n v. Builders Mutual Ins. Co., 303 F. Supp. 2d 784, 786-87 (W.D. Va.

2004) (defining “occurrence” to exclude defective work or product).

            40.    Damages incurred to replace an insured’s defective product do not satisfy the

definition of “property damage” as that term is used and defined in the Insurance Contract.

Whitaker v. Nationwide Mut. Fire Ins. Co., 115 F. Supp. 2d 612, 616 (E.D. Va. 1999) (defining

“direct physical loss” to exclude cost to replace defective workmanship).

            41.    The alleged defects in the fuel delivery system do not arise out of, and do not qualify

as, an “accident” under the Insurance Contract and therefore does not satisfy the definition of an

“occurrence” as recited in Insurance Contract.

            42.    The duty allegedly breached by Tanya—to the extent it exists—arises solely by

virtue of the agreement between Tanya and Luvi and Pardo, and not from any common law source,

and cannot give rise to an “accident,” and therefore cannot give rise to an “occurrence.” See, e.g.,

Richmond Metro. Auth. v. McDevitt St. Bovis, 256 Va. 553, 507 S.E.2d 344 (1998).

            43.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.

            44.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to

the Underlying Action on the grounds and to the extent that the damages sought are alleged to have

been related to the failure to reveal and/or the removal and replacement of the defective fuel

delivery system, and/or arise out of Tanya’s alleged breach of contract, which damages do not give



{01749637.DOCX }                                     16
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 17 of 27 PageID# 623




rise to an “occurrence” under Virginia law, and therefore cannot give rise to a covered loss under

the Insurance Contract.


                    SECOND REQUEST FOR DECLARATORY JUDGMENT

        The Insurance Contract Does Not Provide Coverage for Tanya’s Insurance Claim
                Because the Property Damage Alleged in the Underlying Action
                      Was Expected or Intended from Tanya’s Position.

            45.    Harleysville restates the allegations in the preceding and following paragraphs of

this Complaint for Declaratory Judgment as if fully set forth herein.

            46.    Under Virginia law, “damages resulting from the insured’s defective performance

of a contract and limited to the insured’s work or product is not covered by a commercial general

liability policy because it is ‘expected’ from the standpoint of the insured.” Hotel Roanoke Conf.

Ctr. Comm’n v. Cincinnati Ins. Co., 303 F. Supp. 2d 784, 787 (W.D. Va. 2004).

            47.    The Underlying Action alleges that Tanya is liable to Luvi and Pardo arising out of

the defective fuel delivery system at Tanya’s Property, and Tanya’s failure to disclose that defect.

            48.    Accordingly, under Virginia law, all damages alleged in the Underlying Action

were expected or intended from Tanya’s standpoint.

            49.    The Insurance Contract excludes coverage for all damages alleged in the

Underlying Action on the grounds that such damages were expected or intended from the

standpoint of Tanya. Exhibit 1, Form CG 00 01 12 07, p. 2 of 16.

            50.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.




{01749637.DOCX }                                   17
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 18 of 27 PageID# 624




            51.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to

the Underlying Action on the grounds and to the extent that the damages sought are for damages

“expected or intended” from Tanya’s standpoint, which damages are specifically excluded under

the Insurance Contract.

                     THIRD REQUEST FOR DECLARATORY JUDGMENT

The Insurance Contract Does Not Provide Coverage for Tanya’s Insurance Claim Because
              the Liability for Damages Alleged in the Underlying Action
         Was Assumed by Tanya In The Lease Agreement with Luvi and Pardo.

            52.    Harleysville restates the allegations in the preceding and following paragraphs of

this Complaint for Declaratory Judgment as if fully set forth herein.

            53.    The Insurance Contract excludes indemnification for “‘property damage’ for which

the insured is obligated to pay damages by reason of the assumption of liability in a contract or

agreement.” Exhibit 1, Form CG 00 01 12 07, p. 2 of 16

            54.    The Underlying Action alleges that Tanya is liable to Luvi and Pardo arising out of

misrepresentations made about the Property in the Lease Agreement between them.

            55.    The duties allegedly breached by Tanya – to the extent they exist – arise solely by

virtue of the contract or contracts between Tanya and Luvi and Pardo, and not from any common

law source. See, e.g., Richmond Metro. Auth. v. McDevitt St. Bovis, 256 Va. 553, 507 S.E.2d 344

(1998).

            56.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.



{01749637.DOCX }                                   18
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 19 of 27 PageID# 625




            57.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to

the Underlying Action on the grounds and to the extent that the damages sought arise out of

liability Tanya assumed in its contract or contracts with Luvi and Pardo, which damages are

specifically excluded under the Insurance Contract.

                    FOURTH REQUEST FOR DECLARATORY JUDGMENT

 The Insurance Contract Does Not Provide Coverage for the Damages Alleged in the Claim
  and/or Underlying Action Because the Damages Are Excluded Under the Exclusions for
                     “Damage to Your Property” Owned by Tanya

            58.    Harleysville restates the allegations in the preceding paragraphs of this Complaint

for Declaratory Judgment as if fully set forth herein.

            59.    The Insurance Contract does not provide coverage for the damages alleged in the

Underlying Action because all such damages relate to “property damage” to property owned by

Tanya and leased to Luvi and Pardo, and may include “any costs or expenses incurred by [Tanya],

or any other person, organization or entity, for repair, replacement, enhancement, restoration or

maintenance of such property for any reason, including prevention or injury to a person or damage

to another’s property.” Exhibit 1 and Exhibit 2, Form CG 00 01 12 07, Exclusion j(1), Damage

to Property, p. 4 of 16.

            60.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.

            61.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to



{01749637.DOCX }                                   19
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 20 of 27 PageID# 626




Underlying Action on the grounds and to the extent that the damages sought are specifically

excluded as damage to property owned by Tanya and arising out of such property.

                FIFTH REQUEST FOR DECLARATORY JUDGMENT
 The Insurance Contract Does Not Apply to the Damages Alleged in the Underlying Action
  Because The Complaint Does Not Allege Damages That Satisfy the Insurance Contract
                   Definition of “Personal And Advertising Injury.”

            62.    Harleysville restates the allegations in the preceding and following paragraphs of

this Complaint for Declaratory Judgment as if fully set forth herein.

            63.    The Insurance Contract defines the term “personal and advertising injury” to

include, in part, “the wrongful eviction from, wrongful entry into, or invasion of the right of private

occupancy of a room, dwelling or premises that a person occupies, committed by or on behalf of

its owner, landlord or lessor.” Exhibit 1 and Exhibit 2, Form CG 00 01 12 07, p. 11 of 16.

            64.    The Underlying Action does not contain allegations that would give rise to an

obligation on the part of Harleysville to defend or indemnify Tanya under the “personal and

advertising injury” definition.

            65.    Accordingly, Harleysville has no obligation to defend or indemnify Tanya for

damages alleged in the Underlying Action.

            66.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.

            67.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to

the Underlying Action on the grounds that the Underlying Complaint does not contain any

allegations that satisfy the Insurance Contract definition of “personal and advertising injury.”


{01749637.DOCX }                                   20
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 21 of 27 PageID# 627




               SIXTH REQUEST FOR DECLARATORY JUDGMENT
The Insurance Contract Does Not Apply to the Damages Alleged in the Underlying Action
Because The Damages Are Excluded From Coverage B – Personal and Advertising Injury.

            68.    Harleysville restates the allegations in the preceding and following paragraphs of

this Complaint for Declaratory Judgment as if fully set forth herein.

            69.    Even if this Court finds that the Underlying Action alleges actions that could meet

the Insurance Contract definition of “Personal and Advertising Injury,” the Insurance Contract

excludes coverage for damages under Coverage B – Personal and Advertising Injury “caused by

or at the direction of the insured with the knowledge that the act would violate the rights of another

and would inflict “personal and advertising injury.” Exhibit 1 and Exhibit 2, Form No. CG 00

01 12 07, p. 6 of 16.

            70.    The Underlying Complaint alleged that Tanya knowingly violated the rights of Luvi

and Pardo under the Lease Agreement.

            71.    The Insurance Contract excludes coverage for damages under Coverage B –

Personal and Advertising Injury “arising out of a criminal act committed by or at the direction of

the insured.” Exhibit 1 and Exhibit 2, Form No. CG 00 01 12 07, p. 6 of 16.

            72.    The Underlying Action alleged that Tanya committed fraud, a criminal act.

            73.    The Insurance Contract excludes coverage for damages under Coverage B –

Personal and Advertising Injury “for which the insured has assumed liability in a contract or

agreement. This exclusion does not apply to liability for damages that the insured would have in

the absence of the contract or agreement.” Exhibit 1 and Exhibit 2, Form No. CG 00 01 12 07,

p. 6 of 16.

            74.    The Underlying Complaint alleges that the damages complained of by Luvi and

Pardo arose out of the Lease Agreement with Tanya.

{01749637.DOCX }                                   21
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 22 of 27 PageID# 628




            75.    The Insurance Contract excludes coverage for damages under Coverage B –

Personal and Advertising Injury “arising out of a breach of contract…” Exhibit 1 and Exhibit 2,

Form No. CG 00 01 12 07, p. 6 of 16.

            76.    The Underlying Action alleges that the damages complained of by Luvi and Pardo

arose out of Tanya’s breach of contract.

            77.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.

            78.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to

the Underlying Action on the grounds and to the extent that any damages alleged in the Underlying

Action are excluded from Coverage B – Personal and Advertising Liability.

              SEVENTH REQUEST FOR DECLARATORY JUDGMENT
 The Insurance Contract Does Not Apply to the Damages Alleged in the Underlying Action
                      Because Tanya Has Failed To Comply With
            The Duties In The Event Of Occurrence, Offense, Claim Or Suit.

            79.    Harleysville restates the allegations in the preceding and following paragraphs of

this Complaint for Declaratory Judgment as if fully set forth herein.

            80.    The Insurance Contract states that “No insured will, except at that insured’s own

cost, voluntarily make a payment, assume any obligation, or incur any expense, other than for first

aid, without our consent. Exhibit 1, Form CG 00 01 12 07, p. 11 of 16.

            81.    The Insurance Contract states that “You must see to it that we are notified as soon

as practicable of an ‘occurrence’ … which may result in a claim….” Exhibit 1, Form CG 00 01

12 07, pp. 10-11 of 16.


{01749637.DOCX }                                   22
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 23 of 27 PageID# 629




            82.    The Underlying Action alleges that Tanya is liable to Luvi and Pardo arising out of

actions that occurred between March 2021, when the Lease Agreement is alleged to have been

entered, and February 2022.

            83.    Tanya did not provide notice to Harleysville of the events alleged in the Complaint

until April 25, 2022.

            84.    Tanya engaged its own counsel and filed responsive pleadings to the Underlying

Complaint before Tanya notified Harleysville of the Underlying Action.

            85.    Tanya’s voluntary engagement of counsel to respond to the Underlying Action

occurred prior to the date upon which Tanya notified Harleysville of the Underlying Action.

            86.    Harleysville has no obligation to defend or indemnify Tanya on the grounds and to

the extent that Tanya has violated its Duties under the Insurance Contract.

            87.    A controversy of a justiciable nature presently exists among the parties, which

demands a declaration by the Court, so that Harleysville may have its rights and duties under the

Insurance Contract determined and avoid the possible accrual of damages.

            88.    Accordingly, Harleysville seeks a declaration from this Court that Harleysville has

no duty to defend and/or indemnify Tanya, or anyone else, for any liability or damages related to

the Underlying Action on the grounds and to the extent that Tanya made or promised voluntary

payments to Luvi and Pardo in connection with the Underlying Action and, thus, failed to comply

with a condition precedent to coverage under the Insurance Contract.



                                           RESERVATION

            89.    Harleysville reserves all of its rights under the Insurance Contract and applicable

law. By seeking a declaratory judgment based on the foregoing provisions of the Insurance

{01749637.DOCX }                                   23
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 24 of 27 PageID# 630




Contract, Harleysville does not waive any potential coverage defenses pursuant to any terms,

conditions, limitations, exclusions, definitions, or any other provision of the Insurance Contract.

Developments in connection with this Complaint for Declaratory Judgment, the Underlying

Action, and/or Tanya’s right and obligations, may render additional defenses to coverage ripe for

judicial determination.

            90.    Harleysville reserves the right to amend its Complaint for Declaratory Judgment as

additional and/or more specific information becomes available.



                                       PRAYER FOR RELIEF

            WHEREFORE, Harleysville respectfully requests that this Court enter a judgment

declaring the rights and obligations of the parties under the Insurance Contract, including, but not

limited to, the following:

            A.     That Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that the events alleged in the Underlying Action do not constitute damages caused

                   by an “occurrence” within the meaning of the Insurance Contract and Virginia law;

            B.     That Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that the events alleged in the Underlying Action do not constitute a claim for

                   “property damage” within the meaning of the Insurance Contract;

            C.     That Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that any damages arising from the events alleged in the Underlying Action are

{01749637.DOCX }                                   24
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 25 of 27 PageID# 631




                   excluded pursuant to Exclusion 2.a. – Expected or Intended Injury within the

                   meaning of the Insurance Contract and Virginia law;

            D.     That Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that any damages arising from the events alleged in the Underlying Action are

                   excluded pursuant to Exclusion 2.b. – Contractual Liability within the meaning of

                   the Insurance Contract and Virginia law;

            E.     That, even if this Court finds that the damages alleged in the Underlying Action

                   meet the definition of “property damage” in the Insurance Contract, that

                   Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that any damages arising from the events alleged in the Underlying Action are

                   excluded pursuant to Exclusion2.j(1) – Damage To Property owned by Tanya;

            F.     That Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that any damages arising from the events alleged in the Underlying Action do not

                   constitute a claim for “personal and advertising injury” within the meaning of the

                   Insurance Contract and Virginia law;

            G.     That even if the Underlying Action alleges “personal and advertising injury,”

                   Harleysville has no duty under the Insurance Contract to defend or indemnify

                   Tanya in connection with the Underlying Action on the grounds and to the extent

                   that any damages arising from the events alleged in the Underlying Action are



{01749637.DOCX }                                   25
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 26 of 27 PageID# 632




                   excluded from Coverage B – exclusions 2(a, d, e, or f) as: knowing violations of

                   rights of another; criminal acts; contractual liability; and/or breach of contract;

            H.     That the damages alleged in the Underlying Action are excluded on the grounds

                   that Tanya has failed to comply with its Duties In The Event Of Occurrence,

                   Offense, Claim Or Suit under the Insurance Contracts by failing to provide timely

                   notice;

            I.     That the damages alleged in the Claim and/or the Underlying Action are excluded

                   on the grounds that Tanya has failed to comply with its Duties In The Event Of

                   Occurrence, Offense, Claim Or Suit under the Insurance Contracts by making

                   voluntary payments, assuming obligations, and/or incurring expenses, without the

                   consent of Harleysville;

            J.     That Harleysville has no duty under the Insurance Contract to indemnify Tanya or

                   anyone else for any damages that might be awarded in the Underlying Action in

                   connection with the costs incurred to repair or replace the defective fuel delivery

                   system;

            K.     That the Insurance Contract does not provide coverage for any claims or damages

                   arising out of the Underlying Action whether by settlement, judicial award, or

                   otherwise; and

            L.     That this Court provide such further and supplemental relief as it deems necessary

                   and proper, including but not limited to, an award of costs in favor of Harleysville

                   and National Trust.



            Done this 25th day of August, 2022.

{01749637.DOCX }                                     26
  Case 3:22-cv-00594-REP Document 1 Filed 09/01/22 Page 27 of 27 PageID# 633




                                 Respectfully submitted,

                                 HARLEYSVILE WORCESTER
                                 INSURANCE COMPANY

                                 BY MIDKIFF, MUNCIE & ROSS, P.C.

                                 By: /s/ Diane U. Montgomery

Diane U. Montgomery, Esq. (VSB No. 31850)
Robert Tayloe Ross, Esq. (VSB No. 29614)
Midkiff, Muncie & Ross, P.C.
300 Arboretum Place, Suite 420
Richmond, VA 23236
(804) 560-9600 (phone)
(804) 560-5997 (fax)
E-mail:       dmontgomery@midkifflaw.com
              rross@midkifflaw.com
Counsel for Harleysville Insurance Company




{01749637.DOCX }                             27
